Case 4:20-cv-00217-RSB-CLR Document 1 Filed 03/19/20 Page 1 of 9
Case 4:20-cv-00217-RSB-CLR Document 1 Filed 03/19/20 Page 2 of 9
Case 4:20-cv-00217-RSB-CLR Document 1 Filed 03/19/20 Page 3 of 9
Case 4:20-cv-00217-RSB-CLR Document 1 Filed 03/19/20 Page 4 of 9
Case 4:20-cv-00217-RSB-CLR Document 1 Filed 03/19/20 Page 5 of 9
Case 4:20-cv-00217-RSB-CLR Document 1 Filed 03/19/20 Page 6 of 9
Case 4:20-cv-00217-RSB-CLR Document 1 Filed 03/19/20 Page 7 of 9
Case 4:20-cv-00217-RSB-CLR Document 1 Filed 03/19/20 Page 8 of 9
Case 4:20-cv-00217-RSB-CLR Document 1 Filed 03/19/20 Page 9 of 9
